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                     EXHIBIT 16
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                                                    January 4, 2022

VIA EMAIL

Craig Coleman
Faegre Drinker Biddle & Reath LLP
2200 Wells Fargo Center
90 South Seventh Street
Minneapolis, MN 55402
craig.coleman@faegredrinker.com


       Re:     In re Pork Antitrust Litigation, 0:18-cv-01776
               Hormel’s Responses to MDL DAPs’ First RFPs

Dear Mr. Coleman:
       We write on behalf of MDL Direct Action Plaintiffs (“MDL DAPs”) to meet and confer
regarding Hormel’s November 22, 2021 responses to MDL DAPs’ First Request for Production
of Documents, Request Nos. 8, 9, 10, 14, and 29. 1
         MDL DAPs’ RFP No. 8 sought “[a]ll Documents relating to public statements or
announcements, press releases, or corporate Communications by You or by other Pork Integrators
concerning Competitive Conditions.” (emphasis added). In response, Hormel referred “the DAPs
to its responses and objections to the Class Plaintiffs’ Request for Production No. 24, and states
that it has already produced nonprivileged, responsive documents in its possession, custody, or
control and identified through a reasonable search to the extent those documents were not publicly
available through the Company’s websites. Hormel Foods further objects to producing documents
that are publicly available. No further documents will be produced in response to this Request.”
However, Class RFP No. 24 merely sought “All Documents relating to public announcements,
press releases, or corporate Communications by You concerning Competitive Conditions for Pork.”
(emphasis added). Please confirm whether Hormel has produced all documents relating to public
statements or announcements, press releases, or corporate Communications “by other Pork
Integrators concerning Competitive Conditions.” Please also confirm whether Hormel has
withheld any documents responsive to RFP No. 8 on the ground that such documents are also
publicly available.
        MDL DAPs’ RFP No. 9 sought “[a]ll Documents relating to Your practice and policies for
drafting, approving, and issuing all public Communications regarding Competitive Conditions.”
In response, Hormel objected to RFP No. 9 as “unduly burdensome, and not proportional to the
needs of the case.” Further, Hormel objected “to the use of the undefined terms ‘drafting,’

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 MDL DAPs reserve the right inquire further regarding Hormel’s responses to other MDL DAP
RFPs.
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‘approving,’ and ‘issuing’ as vague and ambiguous” and stated that “it has already produced
nonprivileged documents in its possession, custody, or control and identified through a reasonable
search regarding public Communications regarding Competitive Conditions. No documents will
be produced in response to this Request.” We would like to understand the basis for Hormel’s
objections, particularly its claims of burden and proportionality. We also seek to understand
Hormel’s position that its existing production of documents “regarding public Communications
regarding Competitive Conditions” are sufficiently responsive to RFP No. 9.
         MDL DAPs’ RFP No. 10 sought “[a]ll Documents relating to budgets, projections,
estimates, or related studies, presentations, business plans, or reports prepared or received by Your
current or former directors, officers, or Management regarding” eleven lettered topics, starting
with “(a) Pork production, supply, capacity or output.” In response, Hormel referred “the DAPs
to its responses and objections to the Class Plaintiffs’ Request for Production No. 9, and states that
it has already produced nonprivileged, responsive documents in its possession, custody, or control
and identified through a reasonable search. No further documents will be produced in response to
this Request.” However, Class RFP No. 9, which lists many of the same topics listed in RFP No.
10, did not include “production, supply, capacity, or output” as one of the listed topics. Please
confirm whether Hormel has produced in response to Class RFP No. 9 all documents “relating to
budgets, projections, estimates, or related studies, presentations, business plans, or reports
prepared or received by [Hormel’s] current or former directors, officers, or Management”
regarding “Pork production, supply, capacity, or output.”
        MDL DAPs’ RFP No. 14 sought “[a]ll Documents concerning Pork supply or production
decisions, reductions, rationalization, industry leadership, industry discipline, production
discipline, supply discipline, capacity discipline, or other so-called disciplined approaches or
practices relating to the Pork industry.” (emphasis added). In response, Hormel referred “the
DAPs to its responses and objections to the Class Plaintiffs’ Request for Production No. 19, and
stated that it has already produced nonprivileged, responsive documents in its possession, custody,
or control and identified through a reasonable search. No further documents will be produced in
response to this Request.” However, Class RFP No. 19 did not specifically seek documents
concerning “Pork supply or production decisions [or] reductions.” 2 Please confirm whether
Hormel has produced in response to Class RFP No. 19 all documents related to the “Pork supply
or production decisions [or] reductions” by Hormel, any other Defendant, and any other Pork
Integrator.
       MDL DAPs’ RFP No. 29 sought documents or data from January 1, 2005 through
December 31, 2020 “sufficient to show the details of your production, processing, and supply of
‘Pork Products’ by day, month, quarter, and year by facility, including but not limited to”: (a)
“[t]he volume—by total number and weight of Hogs—processed”; (b) “[t]he product
form/type/grade/cut produced or processed and the volume of each”; and (c) “[t]he processing,
production, capacity, and capacity utilization.” Hormel responded that it “has already produced
responsive structured data. No further structured data will be produced in response to this Request.”

2
  Class RFP No. 19 only sought: “All Documents concerning Pork supply rationalization, industry
leadership, industry discipline, production discipline, supply discipline, capacity discipline, or
other so-called disciplined approaches or practices relating to the Pork industry.”

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Our analysis of Hormel’s productions indicates that Hormel has produced some Structured Data
related to hog acquisition, hog processing, and finished product production. However, there appear
to be significant deficiencies in the data Hormel has produced, including gaps in the relevant time
period for which Hormel is required to produce Structured Data, deficiencies related to the
granularity of the data, and some data that appears to be missing entirely. See Schedule A. If you
contend Schedule A does not accurately describe Hormel’s production of Structured Data
responsive to RFP No. 29, please explain why. Please also confirm whether Schedule B attached
to this letter reflects Hormel’s production of the information requested by MDL DAPs’ RFP No.
29. If Hormel contends that other data in its productions is responsive to RFP No. 29, please
identify such data by Bates number. If Hormel refuses to produce additional data in its possession,
custody or control responsive to MDL DAPs’ RFP No. 29, please explain why.
        We again request that you provide your availability for a call later this week to discuss
these issues further.



                                                     Sincerely,

                                                     /s/ Michael S. Mitchell

                                                     Michael S. Mitchell




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                                 Schedule A - Pork: Summary of Hormel Production Data Produced
Requested Data By            Produced Description of Data   Frequency       By Plant    Date         Deficiencies
RFP 29                       (Y/N)    Produced                              (Y/N)       Range

(a) Volume & Weight of       Y         Hog Processing       Transactional   Y           Nov 2006 -   • Missing data for Jan 2005 – Oct
Hogs Processed                         Data                                             Oct 2019       2006
                                                                                                     • Missing data for Nov 2019 –
                                                                                                       Dec 2020
                             Y         Hog Processing       Weekly          Y           Nov 2004 –  • Only weekly data produced;
                                       Recap Data                                       Oct 2018      missing more granular data
                                                                                                    • Missing data for Nov 2018 –
                                                                                                      Dec 2020
                             Y         Historical Pork      Monthly         Y           Nov 2007 - • Only monthly data produced;
                                       Planned Processing                               Oct 2020      missing more granular data
                                       Data                                                         • Missing data for Jan 2005 – Oct
                                                                                                      2007
                                                                                                    • Missing data for Nov 2020 –
                                                                                                      Dec 2020
                             Y         Hog Purchase Data    Transactional   Y           2007/2008 - • Missing data for Jan 2005 –
                                                                                        2019          2006
                                                                                                    • Missing data for 2020
(b) Volume of production     Y         Finished Product     Annual          Y           Nov 2008 - • Only annual data produced;
by product                             Production & Cost                    (shipment   Oct 2020      missing more granular data
form/type/grade/cut                    Data                                 location)               • Missing data for Jan 2005-Oct
                                                                                                      2008 and Oct 2020-Dec 2020

(c) The processing,          N                                                                       No capacity or capacity utilization
production, capacity, and                                                                            data were produced.
capacity utilization
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                                   Schedule B

•   HFC-PORKAT0000405222
•   HFC-PORKAT0000405224-HFC-PORKAT0000405227
•   HFC-PORKAT0000405230-HFC-PORKAT0000405233
•   HFC-PORKAT0000405237
•   HFC-PORKAT0000405240
•   HFC-PORKAT0000405242
•   HFC-PORKAT0000405245
•   HFC-PORKAT0000405238-HFC-PORKAT0000405239
•   HFC-PORKAT0000405241
•   HFC-PORKAT0000405243-HFC-PORKAT0000405244
•   HFC-PORKAT0000405246-HFC-PORKAT0000405250
•   HFC-PORKAT0000405254
•   HFC-PORKAT0000405236
•   HFC-PORKAT0000405229
•   HFC-PORKAT0000405177-HFC-PORKAT0000405188
•   HFC-PORKAT0000405211
•   HFC-PORKAT0000405213-HFC-PORKAT0000405221
•   HFC-PORKAT0000405223
•   HFC-PORKAT0000405234
•   HFC-PORKAT0000405189-HFC-PORKAT0000405192
•   HFC-PORKAT0000405194-HFC-PORKAT0000405197
•   HFC-PORKAT0000405200
•   HFC-PORKAT0000405204
•   HFC-PORKAT0000405209
•   HFC-PORKAT0000405212
•   HFC-PORKAT0000405193
•   HFC-PORKAT0000405198-HFC-PORKAT0000405199
•   HFC-PORKAT0000405201-HFC-PORKAT0000405203
•   HFC-PORKAT0000405205-HFC-PORKAT0000405208
•   HFC-PORKAT0000405210
•   HFC-PORKAT0000405228
•   HFC-PORKAT0000405172
•   HFC-PORKAT0000405235
•   HFC-PORKAT0000405251-HFC-PORKAT0000405253
•   HFC-PORKAT0000405255-HFC-PORKAT0000405263
•   HFC-PORKAT0000367718-HFC-PORKAT0000367727
•   HFC-PORKAT0000405173
